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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:                                         CHAPTER 11

 MARQUIS DIAGNOSTIC IMAGING, LLC,               CASE NO. 18-52365-PWB

 MARQUIS DIAGNOSTIC IMAGING OF                  CASE NO. 18-52367-PWB
 NORTH CAROLINA, LLC,

 MARQUIS DIAGNOSTIC IMAGING OF                  CASE NO. 18-52365-PWB
 ARIZONA, LLC,

 RADIANT MEDICAL IMAGING, LLC,                  CASE NO. 18-52380-PWB

 DVR ACQUISITION, LLC,                          CASE NO. 18-52589-PWB

 DESERT VALLEY RADIOLOGY, P.L.C.,               CASE NO. 18-52590-PWB

          Debtors.                              Jointly Administered
                                                Under Case No. 18-52365-PWB


               LIMITED OBJECTION AND RESERVATION OF RIGHTS
                 REGARDING DEBTORS’ AMENDED MOTION FOR
              AUTHORITY TO SELL ASSETS AND NOTICE OF OVERBID

       NOW COMES RapidScale, Inc. (“RS”) and files this Limited Objection and Reservation

of Rights Regarding Debtors’ Amended Motion (A) For Authority to Sell Assets Free and Clear

of Liens, Claims, and Encumbrances, (B) To Establish Procedures with Respect to Such Sale and

the Assumption and Assignment of Executory Contracts and Leases, (D) To Consider Approval

of Breakup Fee, and (E) To Shorten and Limit Notice (“Sale Motion”) (Doc. 155) and Notice

of: 1) Submission of Initial Overbid in Conformance with Bid Procedures Order; 2) Auction of

Assets of the Debtors; and 3) Change of Location of Auction (“Notice”) (Doc. 189), showing the

Court as follows:
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                                                 1.

            RS raises two limited objections to the Motion and Notice.

                                                 2.

            First, the asset purchase agreements attached to the Motion and Notice provide an

unfettered right to amend Exhibit 1.6 of the asset purchase agreements at any time prior to the

sale hearing. While neither of the asset purchase agreements specifically seek to assume Debtors’

contract with RS1 (in fact, the asset purchase agreement attached to the Notice completely fails to

include Exhibit 1.6), later amendments to the asset purchase agreements could. RS is entitled to

assert any objections it may have to such amendments.

                                                 3.

            Second, the cure amount set forth in Exhibit B to the Motion, which is deemed to be

binding, may not be accurate on the date of assumption, as services are still being rendered to

Debtors (the proposed cure does not take into account amount for services invoiced in August

2018), and the cure amount does not include any costs or other damages arising out of Debtors’

breach of its contract with RS.

                                                 4.

            For the reasons above, RS hereby reserves its rights on the above stated issues should the

eventual purchaser of Debtors’ assets express a desire to assume Debtors’ contract with RS.




1
 A copy of the relevant agreement is described in and attached to RS’ Motion for Relief From
Stay or Order Compelling Assumption or Rejection of Executory Contract, filed on July 18,
2018 (Doc. 152).


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            WHEREFORE, RS prays that the Court permit it to object to any revisions of the asset

purchase agreements that purport to result in an assumption of RS’ contract with Debtors,

including objecting to the proposed cure amount.

            Respectfully submitted, this 22nd day of August, 2018.

                                                 COHEN POLLOCK MERLIN TURNER, P.C.
                                                 Counsel for RS

                                                 By:     /s/ Garrett H. Nye
                                                          Bruce Z. Walker
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                                                          Garrett H. Nye
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                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies that he is more than 18 years of age, and that he served
copies of LIMITED OBJECTION AND RESERVATION OF RIGHTS REGARDING
DEBTORS’ AMENDED MOTION FOR AUTHORITY TO SELL ASSETS AND NOTICE
OF OVERBID via U.S. First Class Mail to the persons or entities listed below:

 Henry F. Sewell, Jr.                                  David S. Weidenbaum
 Law Offices of Henry F. Sewell, Jr., LLC              Office of the U.S. Trustee
 Suite 555                                             362 Richard B. Russell Bldg.
 2964 Peachtree Road, NW                               75 Ted Turner Drive, SW
 Atlanta, GA 30305                                     Atlanta, GA 30303

            This 22nd day of August, 2018.
                                                 COHEN POLLOCK MERLIN TURNER, P.C.
                                                 Counsel for RS

                                                 By:     /s/ Garrett H. Nye
                                                          Garrett H. Nye
                                                          Georgia Bar No. 387919
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